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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                               March 2022 Grand Jury

11   UNITED STATES OF AMERICA,                CR 20-228(B)-FMO

12              Plaintiff,                    S E C O N D
                                              S U P E R S E D I N G
13              v.                            I N D I C T M E N T
14   MEI XING                                 [18 U.S.C. §§ 1591(a)(1), (a)(2),
       aka “Xing Mei,”                        (b)(1): Sex Trafficking; 18 U.S.C.
15     “Anna,” and                            § 1594(d); and 28 U.S.C. § 2461:
       “Boss,”                                Criminal Forfeiture]
16
                Defendant.
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19         The Grand Jury charges:
20                                      COUNT ONE
21                    [18 U.S.C. §§ 1591(a)(1), (a)(2), (b)(1)]
22         Beginning in or around February 2017, through on or about April
23   2018, in Los Angeles County, within the Central District of
24   California, defendant MEI XING, also known as (“aka”) “Xing Mei,”
25   “Anna,” and “Boss,” in and affecting interstate and foreign commerce,
26   knowingly recruited, enticed, harbored, transported, provided,
27   obtained, and maintained by any means, and benefitted, financially
28   and by receiving anything of value, from participation in a venture
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 1   that recruited, enticed, harbored, transported, provided, obtained,

 2   and maintained by any means, Victim 2, knowing and recklessly

 3   disregarding that threats of force, fraud, and coercion, as defined

 4   in Title 18, United States Code, Section 1591(e)(2), and any

 5   combination of such means, would be used to cause Victim 2 to engage

 6   in a commercial sex act.

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 1                                      COUNT TWO

 2                    [18 U.S.C. §§ 1591(a)(1), (a)(2), (b)(1)]

 3         Beginning in or around July 2016, but no later than on or about

 4   May 2017, in Los Angeles County, within the Central District of

 5   California, defendant MEI XING, aka “Xing Mei,” “Anna,” and “Boss,”

 6   in and affecting interstate and foreign commerce, knowingly

 7   recruited, enticed, harbored, transported, provided, obtained, and

 8   maintained by any means, and benefitted, financially and by receiving

 9   anything of value, from participation in a venture that recruited,

10   enticed, harbored, transported, provided, obtained, and maintained by

11   any means, Victim 5, knowing and recklessly disregarding that threats

12   of force, fraud, and coercion, as defined in Title 18, United States

13   Code, Section 1591(e)(2), and any combination of such means, would be

14   used to cause Victim 5 to engage in a commercial sex act.

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 1                                     COUNT THREE

 2                    [18 U.S.C. §§ 1591(a)(1), (a)(2), (b)(1)]

 3         Beginning in or around December 2016, through on or about

 4   January 2017, in Los Angeles County, within the Central District of

 5   California, defendant MEI XING, aka “Xing Mei,” “Anna,” and “Boss,”

 6   in and affecting interstate and foreign commerce, knowingly

 7   recruited, enticed, harbored, transported, provided, obtained, and

 8   maintained by any means, and benefitted, financially and by receiving

 9   anything of value, from participation in a venture that recruited,

10   enticed, harbored, transported, provided, obtained, and maintained by

11   any means, Victim 4, knowing and recklessly disregarding that threats

12   of force, fraud, and coercion, as defined in Title 18, United States

13   Code, Section 1591(e)(2), and any combination of such means, would be

14   used to cause Victim 4 to engage in a commercial sex act.

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 1                                      COUNT FOUR

 2                    [18 U.S.C. §§ 1591(a)(1), (a)(2), (b)(1)]

 3         Beginning in or around January 2017, through on or about October

 4   23, 2018, in Los Angeles County, within the Central District of

 5   California, defendant MEI XING, aka “Xing Mei,” “Anna,” and “Boss,”

 6   in and affecting interstate and foreign commerce, knowingly

 7   recruited, enticed, harbored, transported, provided, obtained, and

 8   maintained by any means, and benefitted, financially and by receiving

 9   anything of value, from participation in a venture that recruited,

10   enticed, harbored, transported, provided, obtained, and maintained by

11   any means, Victim 3, knowing and recklessly disregarding that threats

12   of force, fraud, and coercion, as defined in Title 18, United States

13   Code, Section 1591(e)(2), and any combination of such means, would be

14   used to cause Victim 3 to engage in a commercial sex act.

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 1                                      COUNT FIVE

 2                    [18 U.S.C. §§ 1591(a)(1), (a)(2), (b)(1)]

 3         Beginning in or around January 2017, through on or about October

 4   2018, in Los Angeles County, within the Central District of

 5   California, defendant MEI XING, aka “Xing Mei,” “Anna,” and “Boss,”

 6   in and affecting interstate and foreign commerce, knowingly

 7   recruited, enticed, harbored, transported, provided, obtained, and

 8   maintained by any means, and benefitted, financially and by receiving

 9   anything of value, from participation in a venture that recruited,

10   enticed, harbored, transported, provided, obtained, and maintained by

11   any means, Victim 6, knowing and recklessly disregarding that threats

12   of force, fraud, and coercion, as defined in Title 18, United States

13   Code, Section 1591(e)(2), and any combination of such means, would be

14   used to cause Victim 6 to engage in a commercial sex act.

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 1                               FORFEITURE ALLEGATION

 2                     [18 U.S.C. § 1594(d) and 28 U.S.C. § 2461]

 3         1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 1594(d), and Title 28, United States

 7   Code, Section 2461(c), in the event of any defendant’s conviction of

 8   the offenses set forth in any of Counts One through Five of this

 9   Second Superseding Indictment.

10         2.    Any defendant so convicted shall forfeit to the United

11   States of America the following:

12               (a)    Any property, real or personal, that was involved in,

13   used, or intended to be used to commit or to facilitate the

14   commission of such violation, and any property traceable to such

15   property;

16               (b)    Any property, real or personal, constituting or

17   derived from, any proceeds that such person obtained, directly or

18   indirectly, as a result of such violation, or any property traceable

19   to such property; and

20               (c)    In the event such property is not available for

21   forfeiture, a sum of money equal to the total value of the property

22   described in subparagraphs (a) and (b).

23         3.    Pursuant to Title 21, United States Code, Section 853(p),

24   as incorporated by Title 28, United States Code, Section 2461(c), any

25   defendant so convicted shall forfeit substitute property, up to the

26   total value of the property described in the preceding paragraph if,

27   as the result of any act or omission of said defendant, the property

28   described in the preceding paragraph, or any portion thereof (a)

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 1   cannot be located upon the exercise of due diligence; (b) has been

 2   transferred, sold to or deposited with a third party; (c) has been

 3   placed beyond the jurisdiction of the court; (d) has been

 4   substantially diminished in value; or (e) has been commingled with

 5   other property that cannot be divided without difficulty.

 6                                               A TRUE BILL
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 8
                                                 Foreperson
 9

10    E. MARTIN ESTRADA
      United States Attorney
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12

13    MACK E. JENKINS
      Assistant United States Attorney
14    Chief, Criminal Division
15    JEFFREY M. CHEMERINSKY
      Assistant United States Attorney
16    Chief, Violent & Organized Crime
      Section
17
      SCOTT M. LARA
18    DAMARIS DIAZ
      Assistant United States Attorneys
19    Violent & Organized Crime Section
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